                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

LOCAL UNION NO. 124 I.B.E.W. PENSION                   )
TRUST FUND, a Trust Fund, et al.                       )
                                                       )
                                      Plaintiffs,      )
       VS.                                             )
                                                       )    Case No. 4:18cv-00221-BCW
LAN-TEL COMMUNICATIONS                                 )
SERVICES, INC., et al.                                 )
                                                       )
                                      Defendants.      )
                                                       )


  DEFENDANT LAN-TEL COMMUNICATIONS, INC. ANSWERS TO PLAINTIFF’S
                         COMPLAINT

   COMES NOW Defendant, by and through its Attorney of record, and for its answer to

Plaintiff’s Complaint states and alleges as follows:

                                              COUNT I

   1. Paragraph number 1 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 1.

   2. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 2 and, therefore, denies the same.

   3. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 3 and, therefore, denies the same.

   4. Paragraph number 4 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 4.




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   5. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 5 and, therefore, denies the same.

   6. Defendant Lan-Tel Communications admits that they are a Missouri Corporation doing

business in Missouri and Kansas but denies all other allegations of paragraph 6.

   7. Defendant denies the allegations in paragraph 7.

   8. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 8 and, therefore, denies the same.

   9. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 9 and, therefore, denies the same.

   10. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 10 and, therefore, denies the same.

   11. Defendant denies the allegations in paragraph 11.

   12. Paragraph number 12 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 12.

   13. Paragraph number 13 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 13.

   14. The collective bargaining agreement and Trust Agreement speak for themselves.

Defendant denies all other allegations in paragraph 14.

   15. The collective bargaining agreement and Trust Agreement speak for themselves.

Defendant denies all other allegations in paragraph 14.

   16. Defendant denies the allegations in paragraph 16.




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   17. The collective bargaining agreement and Trust Agreement speak for themselves.

Defendant denies all other allegations in paragraph 14.

   18. Paragraph number 18 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 18.

    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                              COUNT II

    1. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 1 and, therefore, denies the same.

    2. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 2 and, therefore, denies the same.

    3. Defendant hereby incorporates their answers in all proceeding paragraphs as fully set forth

below.

    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                               COUNT III

    1. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 1 and, therefore, denies the same.




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    2. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 2 and, therefore, denies the same.

    3. Defendant hereby incorporates their answers in all proceeding paragraphs as fully set forth

below.

    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                              COUNT IV

    1. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 1 and, therefore, denies the same.

    2. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 2 and, therefore, denies the same.

    3. Defendant hereby incorporates their answers in all proceeding paragraphs as fully set forth

below.

    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                              COUNT V

    1. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 1 and, therefore, denies the same.




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    2. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 2 and, therefore, denies the same.

    3. Defendant hereby incorporates their answers in all proceeding paragraphs as fully set forth

below.

    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                               COUNT VI

    1. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 1 and, therefore, denies the same.

    2. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 2 and, therefore, denies the same.

    3. Defendant hereby incorporates their answers in all proceeding paragraphs as fully set forth

below.

    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                             COUNT VII

    1. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 1 and, therefore, denies the same.




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    2. Paragraph number 2 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 2.

    3. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 3 and, therefore, denies the same.

    4. Defendant hereby incorporates their answers in all proceeding paragraphs as fully set forth

below.

    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                             COUNT VII

    1. Paragraph number 1 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 1.

    2. Paragraph number 2 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 2.

    3. Defendant Admits the allegations in paragraph 3.

    4. Paragraph number 4 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 4.

    5. Defendant denies the allegations in paragraph 5.




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    WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.

                                              COUNT IX

    1. Defendant lacks sufficient information or knowledge to admit or deny the allegations

contained in paragraph 1 and, therefore, denies the same.

    2. Defendant Lan-Tel Communications admits that they are a Missouri Corporation doing

business in Missouri and Kansas but denies all other allegations of paragraph 6.

    3. Defendant denies the allegations in paragraph 3.

    4. Paragraph number 4 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 4.

    5. Defendant admits the allegations in paragraph 5.

    6. Defendant denies the allegations in paragraph 6.

    7. The collective bargaining agreement and Trust Agreement speak for themselves.

Defendant denies all other allegations in paragraph 7.

    8. Paragraph number 8 appears to state a legal conclusion on which a response on behalf of

this Defendant is not required and so far as a response is deemed to be required Defendant denies

the allegations contained in paragraph 8.

    9. Defendant denies the allegations in paragraph 9.

    10. Defendant denies the allegations in paragraph 10.




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      WHEREFORE having fully answered Plaintiff’s Petition for Damages, Defendant prays the

court enter judgment in favor of Defendant and against Plaintiff, or on the alternative. That

Plaintiff’s Petition for Damages be dismissed, for Defendant’s costs herein and for any other relief

the court deems just and proper.




                                                             McELLIGOTT EWAN & HALL
                                                             A Professional Corporation


                                                             ______________________________
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                                                             ATTORNEY FOR DEFENDANTS


Certificate of Service

The undersigned certifies that a true
and correct copy of the above and
foregoing was served via the Court’s e-filing
system, on April 19, 2018, to:

Michael G. Newbold

And

John J. Westerhaus
Attorneys for Plaintiff




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